                Nos. 24-1380, 24-1480, 24-1493, 24-1516
               UNITED STATES COURT OF APPEALS
                   FOR THE EIGHTH CIRCUIT

           ZIMMER RADIO OF MID-MISSOURI, INC., et al.,
                                                                    Petitioners,
        ABC TELEVISION AFFILIATES ASSOCIATION, et al.,
                                                                   Intervenors.
                                    v.
         FEDERAL COMMUNICATIONS COMMISSION, et al.,
                                                                  Respondents,
     NCTA-THE INTERNET & TELEVISION ASSOCIATION, et al.,
                                                                   Intervenors.
                    On Petition for Review from the
                  Federal Communications Commission
                  FCC 23-117, MB Docket No. 18-349

   BRIEF FOR INTERVENORS, CBS TELEVISION NETWORK
  AFFILIATES ASSOCIATION, ABC TELEVISION AFFILIATES
   ASSOCIATION, NBC TELEVISION AFFILIATES, AND FBC
   TELEVISION AFFILIATES ASSOCIATION IN SUPPORT OF
                     PETITIONERS

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                   SUMMARY OF THE CASE AND
              STATEMENT REGARDING ORAL ARGUMENT

      The Petitioners and Petitioner-side Intervenors challenge a Federal

Communications Commission Order that purports to conduct the regulatory review

required by Section 202(h) of the Telecommunications Act of 1996. The preamble

to that statute provides that its aim is to “promote competition and reduce

regulation.” Section 202(h) provides that the Commission “shall repeal or modify”

its television ownership rules that are no longer “necessary in the public interest as

the result of competition.” In the Order under review, the Commission defies this

deregulatory mandate by leaving in place decades-old ownership rules and piling on

new ones. The Order is unlawful because it applies an agency-manufactured “plain

public interest standard” instead of the deregulatory standard enacted by Congress.

It is also unlawful for the independent reason that the Commission’s rationales under

its misguided approach are arbitrary and capricious.

      The Television Affiliates Intervenors believe that oral argument would assist

the Court and respectfully request 30 minutes per side to be split between the

principal parties and their respective Intervenors.




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                 CORPORATE DISCLOSURE STATEMENT

      In accordance with Federal Rule of Appellate Procedure 26.1 and Eighth

Circuit Rule 26.1.A, the Television Affiliates Intervenors state as follows:

      1.     CBS Television Network Affiliates Association states that it has no

             parent corporation and that no publicly held company owns 10 percent

             or more of its stock because it is a non-stock corporation.

      2.     ABC Television Affiliates Association states that it has no parent

             corporation and that no publicly held company owns 10 percent or more

             of its stock because it is a non-stock corporation.

      3.     NBC Television Affiliates states that it has no parent corporation and

             that no publicly held company owns 10 percent or more of its stock

             because it is a non-stock corporation.

      4.     FBC Television Affiliates Association states that it has no parent

             corporation and that no publicly held company owns 10 percent or more

             of its stock because it is a non-stock corporation.

July 15, 2024                                  /s/ Eve Klindera Reed
                                               Eve Klindera Reed




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                                INTRODUCTION1

       In the early days of television, Americans’ choices for news, information,

sports, and entertainment were limited to just three major broadcast networks. But

times changed.      By 1996, an explosion of new media technologies was

revolutionizing the communications landscape, ending broadcast’s dominance. The

burgeoning cable industry provided 24-hour news, with Fox News Channel and

MSNBC joining CNN that year. Netflix, Hulu, and Amazon Prime were yet to

follow; but the internet was already delivering news, entertainment, and other

information directly to American homes. Convinced market forces could promote

viewpoint diversity better than top-down regulation, Congress “require[d] the FCC

to keep pace with industry developments” by “regularly reassess[ing] how its rules

function in the marketplace” and removing unnecessary restrictions. See FCC v.

Prometheus Radio Project, 592 U.S. 414, 419 (2021).

       Congress began the process itself. The Telecommunications Act of 1996

repealed specific prohibitions on broadcast and media ownership and overrode other

regulatory restrictions. So that the FCC would continue Congress’s deregulatory

effort, Section 202(h) directs the FCC to evaluate, every four years, the need for its

broadcast ownership rules and “repeal” or “modify” any rule no longer “necessary


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  Television Affiliates Intervenors adopt Petitioners’ Jurisdictional Statement,
Statement of the Issues, and Addendum. Television Affiliates Intervenors support
Petitioners’ arguments with respect to Section 202(h) and the Local Television Rule.

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in the public interest as the result of competition.” Pub. L. No. 104-104, § 202(h),

110 Stat. 56, 111-12 (“1996 Act”), amended by Pub. L. No. 108-199, § 629, 118

Stat. 3, 99-100 (2004). Congress thus “set in motion a process to deregulate the

structure of the broadcast and cable television industries.” Fox Television Stations,

Inc. v. FCC, 280 F.3d 1027, 1033 (D.C. Cir. 2002), modified, 293 F.3d 537 (D.C.

Cir. 2002).

      The FCC’s Order violates the statutory mandate. Instead of eliminating the

archaic Local Television Rule, the Order expands it. The Order misinterprets

Congress’s deregulatory command as a license to regulate, invoking out-of-context

statutory snippets and deference the Supreme Court rejected. See Loper Bright

Enterprises v. Raimondo, 144 S.Ct. 2244 (2024). The Order is also arbitrary,

overlooking important issues, ignoring record evidence, and relying on

fundamentally inconsistent rationales.

                         STATEMENT OF THE CASE

      Congress enacted the 1996 Act to “promote competition and reduce

regulation.”   1996 Act, Preamble.       To that end, Congress repealed statutes

prohibiting cross ownership, § 202(i), and directed the FCC to “eliminat[e]” the

nationwide television station ownership limit, § 202(c)(1)(A), “increas[e] the

national audience reach limitation for television stations,” § 202(c)(1)(B), and

“relax[]” its “one-to-a-market ownership rules,” § 202(d), among other deregulatory



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changes, e.g., §§ 202(e)-(f). And in Section 202(h), Congress “establishe[d] an

iterative process,” Prometheus 592 U.S. at 419, for the Commission “to continue the

process of deregulation,” Fox, 280 F.3d at 1033.

       The Order purports to review the Local Television Rule under Section 202(h).

With origins in the early 1940s, the Local Television Rule precludes an entity from

owning more than two television stations in the same local market. 47 C.F.R.

§ 73.3555(b)(1). And under the “Top Four Prohibition,” only one of those stations

can be “ranked among the top four stations in the” local market, as determined by

“audience share.” Id. § 73.3555(b)(1)(ii).

       The Order does not deregulate. It not only “retain[s] the existing Local

Television Ownership Rule,” App.__ (Order ¶ 66), it expands it. Before the Order,

the Local Television Rule covered only the primary signal of approximately 1,750

full-power television stations.   See Broadcast Television Station Totals as of

December 31, 2023, Public Notice, DA 24-17 (rel. Jan. 8, 2024). After the Order,

the Rule encompasses more than 2,000 low-power and Class A stations (“LPTV”)

and all multicasts. 2 App.__ (Order ¶ 103). And it imposes more regulatory burdens

by counting “multicast programming” on streams that are ranked to assess a station’s

audience share. App.__ (Order ¶ 94); 47 C.F.R. § 73.3555(b)(1)(ii).



2
  Multicasting occurs where a television station broadcasts multiple streams of
programming over one channel.

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      The Commission justifies maintaining and expanding its decades-old Rule by

continuing to define “broadcast television” as the “relevant market” to assess

competition—deeming it “non-substitutable” with innumerable other “sources of

video programming available today.” App.__-__ (Order ¶¶ 73-76). It also claims

that the Rule still “help[s] to ensure viewpoint diversity,” App.__ (Order ¶ 81), and

that television stations’ “advertising revenue … has remained fairly steady,” App.__

(Order ¶ 87). According to the Commission, additional restrictions were necessary

because parties were using LPTV stations and multicast streams to increase their

audience reach. App.__ (Order ¶ 99).

      Commissioners Carr and Simington dissented. Commissioner Carr faulted

the agency for “advanc[ing] the fiction that broadcast radio and broadcast television

stations exist in markets unto themselves.” App.__ (Carr Dissent 92). Even worse,

Commissioner Carr explained, “the FCC is actually tightening” the Local Television

Rule, notwithstanding its attempt “to characterize this action as closing a loophole.”

App.__ (Carr Dissent 93). Commissioner Simington agreed that the Commission

not only “ignor[ed] the competitive realities of the modern video marketplace,” but

“turn[ed] them on their head.” App.__ (Simington Dissent 94). He also explained

that expanding the Local Television Rule “flies in the face of the essentially de-

regulatory precedent of the Quadrennial Review.” Ibid.




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                           SUMMARY OF ARGUMENT

      I.       Retention of the Local Television Rule is unlawful. The Order violates

Section 202(h) because it applies a “plain public interest standard” developed by the

Commission, App.__ (Order ¶ 16), instead of the deregulatory standard mandated

by Congress through the text, structure, history, and purpose of the statute.

      The FCC’s reasons for retaining the Rule are also arbitrary and capricious. Its

market-substitution analysis ignores unrebutted record evidence of substitutability

and declining revenues, and the Commission’s “uniqueness” analysis is both

irrelevant and substantively deficient.        Finally, the Commission’s viewpoint-

diversity rationale disregards unrebutted record evidence and is irrational.

      II.      Expansion of the Local Television Rule is unlawful. Section 202(h)

prohibits such action, and the FCC’s rationale for adopting so-called “anti-

circumvention measures” flatly contradicts its rationale for retaining the Local

Television Rule. The Commission’s anti-circumvention measures are also faulty

because they fail to adequately assess record evidence and competition. And the

Order’s amended audience-share methodology fails to explain why it treats

multicasting inconsistently across its new rule provisions and fails to consider data

limitations.




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                               STANDARD OF REVIEW

        The Court shall “hold unlawful and set aside agency action” that is “arbitrary,”

“capricious,” or “in excess of statutory jurisdiction, authority or limitations.” 5

U.S.C. § 706. Where an agency “has relied on multiple rationales (and has not done

so in the alternative),” a court “will ordinarily vacate the order” if “at least one of

the rationales is deficient.” Nat’l Fuel Gas Supply Corp. v. FERC, 468 F.3d 831,

839 (D.C. Cir. 2006) (Kavanaugh, J.).

                                    ARGUMENT

I.      THE COMMISSION’S RETENTION OF THE LOCAL TELEVISION
        RULE IS UNLAWFUL.

        A.    The Commission Disregards Section 202(h)’s Deregulatory
              Standard.

        The Commission went astray by replacing the deregulatory standard enacted

by Congress with its own “plain public interest standard.” App.__ (Order ¶ 16). The

Supreme Court made clear last month that this Court “must exercise [its]

independent judgment” in interpreting a statute and “may not defer to an agency

interpretation of the law simply because a statute is ambiguous,” Loper Bright, 144

S. Ct. at 2273. That forecloses the FCC’s plea for deference, App.__ (Order ¶ 18),

and makes this Court the first to exercise independent judgment in interpreting

Section 202(h).




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      The “single best, meaning” of Section 202(h) is clear. Loper Bright, 144 S.

Ct. at 2266. The text provides that the FCC “shall” regularly evaluate its broadcast

ownership rules and “shall repeal or modify” those no longer “necessary in the public

interest as the result of competition.”       This text requires the Commission to

“regularly reassess how its rules function in the marketplace,” and places the burden

on the agency to justify retention rather than allowing the rules to “remain in place

simply through inertia,” Prometheus, 592 U.S. at 419.           The provision thus

establishes a deregulatory standard.

      Structure confirms the text. When the Communications Act (which the 1996

Act amended) authorizes the Commission to “make … rules,” 47 U.S.C. §§ 154(i),

303(r), it does not use Section 202(h)’s retrospective “repeal or modify” language.

Because “differences in language like this convey differences in meaning,” Rudisill

v. McDonough, 601 U.S. 294, 308 (2024) (quotations omitted), Section 202(h)’s

backwards-looking formulation and focus on competition confirms deregulation is

the default.

      Section 202(h) follows a series of subsections that “eliminat[ed],” “revise[d],”

and “relax[ed]” rules. 1996 Act, § 202(a)-(f). It is entitled “Further Commission

Review.” (emphasis added). Thus, the provision’s “title and place in the statutory

scheme” each confirm that it continues these deregulatory efforts. Dubin v. United

States, 599 U.S. 110, 120-21 (2023) (“the heading of a section” resolves “doubt


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about the meaning of a statute” (cleaned up)); accord Fischer v. United States, 144

S. Ct. 2176, 2184 (2024) (“phrase can be given a more focused meaning by the terms

linked to it”). Any other interpretation would be absurd, allowing the FCC to have

used the first biennial review in 1998 to tighten the rules Congress had instructed the

agency to loosen in Subsections (a)-(f) just two years earlier. And as Petitioners

explain in their brief, that outcome would undermine Congress’s purpose “to

promote competition and reduce regulation.” 1996 Act, Preamble.

      The FCC’s contrary interpretation emphasizes words out of context. The

Commission claims “modify” and “public interest” defeat “the logic of a

deregulatory presumption.” App.__ (Order ¶ 17). But a statute’s “language cannot

be construed in a vacuum.” Yellen v. Confederated Tribes of the Chehalis Rsrv., 594

U.S. 338, 359 (2021) (quotations omitted). Section 202(h)’s retroactive scope, its

unique phrasing, and its location in a deregulatory section of a deregulatory statute

must inform the meaning of the few words the Commission selects. By ignoring

context, the Order misinterprets the statute to apply the wrong standard.

      This error was dispositive. The record showed a fundamentally altered

competitive landscape with broadcast television stations facing competition from

“online … video streaming services too numerous to quantify or recount.” App.__

(Carr Dissent 92). As two Commissioners recognized, these and other “realities of

the modern media marketplace” ought to have “compel[led]” the FCC under Section


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202(h) “to update [its] outdated” Local Television Rule. App.__ (Carr Dissent 92);

see App.__ (Simington Dissent 94) (“broadcasters … are, at present, being

outcompeted in the video marketplace”). That the agency reached a different result

under its misguided “plain public interest standard” is reversible error.

      B.     The Commission’s Market Definition Is Arbitrary.

      Regardless of the correct standard, the FCC’s proffered justifications for

retaining the Local Television Rule are arbitrary. The Commission primarily argues

“broadcast television remains unique and non-substitutable with other sources of

video programming.” App.__ (Order ¶ 73) (emphasis added). It is wrong on both

counts.

             1.     The Commission’s Substitutability Analysis Is Arbitrary.

      Goods and services are substitutes when they are “reasonably interchangeable

by consumers for the same purposes.” United States v. E. I. du Pont de Nemours &

Co., 351 U.S. 377, 395 (1956). “[R]easonable interchangeability” is assessed by

“the cross-elasticity of demand between the product itself and substitutes for it.”

Brown Shoe Co. v. United States, 370 U.S. 294, 325 (1962). Thus, reasonable

interchangeability exists where an increase in the price of A causes an increase in the

demand for B.

      The unrebutted record evidence shows viewers consider broadcast and non-

broadcast video programming reasonably interchangeable. The record reflects that



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broadcasters face immense competition for viewers from non-broadcast sources.

See, e.g., App.__-__ (2021 Nexstar Comments 4-6). And broadcasters are losing

audience share to these sources. App.__-__ (NAB 2021 Comments 87-92). Indeed,

the Order agrees “price conscious consumers” sometimes choose “free, over-the-air

television” in lieu of “subscribing to pay TV alternatives.” App.__ (Order ¶ 74)

(emphases added). So, if the “price” of non-broadcast “alternatives” increases, the

demand for broadcast will also increase—strong evidence of substitutability. Yet,

in assessing market definition, the Order “entirely failed to consider” viewer

substitutability—an “important aspect of the problem.” See Motor Vehicle Mfrs.

Ass’n v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983). This “alone

renders” the “decision arbitrary and capricious.” DHS v. Regents of the Univ. of

California, 591 U.S. 1, 30 (2020).

      The record contains equally strong evidence that advertisers treat broadcast

and non-broadcast media as reasonably interchangeable. See, e.g., App.__-__

(Television Affiliates 2021 Reply Comments 7-10); App.__ (NAB 2021 Comments

58); App.__-__ (Nexstar 2021 Comments 3-15). The Order even acknowledges

broadcasters face “competition from other video programming sources … on

advertising revenue.” App.__-__ (Order ¶ 75). And the record shows television

stations derive more revenue from advertising than from any other source. See, e.g.,

App.__ (NAB 2021 Comments 96).


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      The Commission fails to grapple with this evidence. Despite acknowledging

the substitutability of broadcasters’ largest revenue source, the Commission waves

it away as just “one of the facets of competition.” App.__-__ (Order ¶ 75). That

“single sentence” observing a glaring flaw with the agency’s market definition and

then dismissing it “falls well short of what is needed to demonstrate the agency

grappled with an important aspect of the problem before it.” Spirit Airlines, Inc. v.

FAA, 997 F.3d 1247, 1255 (D.C. Cir. 2021).

      The Commission’s truncated discussion also conflicts with the record. The

Order claims “advertising revenue[] has remained fairly steady in recent years.”

App.__ (Order ¶ 87). But broadcasters submitted a study showing their “advertising

revenues have declined by 37.3 percent in real terms since 2000,” with further drops

projected. App.__-__ (NAB 2021 Comments 95-97). A double-digit drop is hardly

“steady” and confirms intense competition from non-broadcast video sources. Yet

the Commission “offered no reasoned response” to the study. Ohio v. EPA, 144 S.

Ct. 2040, 2054 (2024). That is arbitrary.

             2.    The Commission’s Uniqueness Analysis Is Arbitrary.

      The Commission also errs in claiming the broadcast-television market is

“unique” because “non-broadcast sources of video programming do not compete

with broadcasters for retransmission consent fees” or “network affiliations.”

App.__-__ (Order ¶ 75).



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       To begin, products with “unique” attributes may still be market substitutes.

For example, sneakers from Adidas may be reasonably interchangeable with those

from Nike although one has stripes and the other a swoosh. And Apple competes

with Microsoft even though only the latter offers Windows. So too, broadcasters

compete with non-broadcast sources even though broadcasters produce “local

programming.” App.__ (Order ¶ 75). The “FCC must do more than enumerate

factual differences” to show non-substitutability; it must “explain the relevance of

those differences.” Adams Telcom, Inc. v. FCC, 38 F.3d 576, 581 (D.C. Cir. 1994)

(quotations omitted). By instead focusing on superficial aspects of broadcast

television and labeling them “unique,” the agency “fail[s] to supply a satisfactory

explanation,” Ohio, 144 S. Ct. at 2054 (quotations omitted). And its resort to this

superficial analysis shows it lacks bona fide competition-based rationales for its

antiquated market definition.

       The Commission’s uniqueness analysis also fails even on its own terms.

Retransmission consent fees are not “unique to broadcast stations.” Contra App.__

(Order ¶ 75 n.256). These are fees paid by cable and satellite companies to

“retransmit the signal of a broadcasting station.” 47 U.S.C. § 325(b)(1). Looking

past technical jargon, such fees are merely the price broadcast stations charge for the

right to distribute their content.




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      Broadcasters are hardly the only companies that sell their content. Major

television networks deliver their content directly to consumers online and sell it for

a fee to other distributors. App.__-__ (Television Affiliates 2021 Reply Comments

4-5). Cable channels also license their content to distributors. As the Commission’s

own source explains, “allowing broadcasters to receive compensation for carriage of

their content … treats broadcasters the same as non-broadcast programming

services carried by cable systems.” Cable Carriage of Broadcast Stations, FCC,

https://tinyurl.com/zfmmm8ur (last updated Sept. 27, 2021) (emphasis added) (cited

in App.__ (Order ¶ 75 n.256)). And “more programming competing for viewers’

eyeballs and attention” places “marketplace pressures” on retransmission consent

compensation because the amounts distributors pay to broadcasters “are keyed to the

number of subscribers in a station’s market,” and subscriber count decreases when

viewers opt for alternative distribution platforms. App.__, __ (Television Affiliates

2021 Reply Comments 6, 10).

      Thus, retransmission consent compensation is neither “unique” to

broadcasters nor immune from non-broadcast market forces. The Commission’s

contrary conclusion elevates labels over substance and, as a result, “entirely fail[s]

to consider an important aspect of the problem” and relies on a rationale that “runs

counter to the evidence before the agency.” State Farm, 463 U.S. at 43.




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      The Commission’s conclusory assertion that “non-broadcast sources of video

programming do not compete with broadcasters” for “network affiliations,” App.__

(Order ¶ 75), suffers from the same deficiency. Network affiliations occur when

“[t]he largest national networks” contract “with broadcast stations for over-the-air

delivery of their programming.” App.__ (Order ¶ 75 n.256). But non-broadcast

streaming platforms—like Paramount+, Peacock, Hulu, and Amazon—also transmit

major-network programming.              App.__-__ (Television Affiliates 2021 Reply

Comments 4-6). That these platforms do not compete for affiliations is irrelevant

because they compete directly with broadcasters to distribute the same network

programming. Ibid. By limiting its analysis to the artificially narrow term “network

affiliations”—rather than all arrangements involving network contracts to deliver

their content—the Commission again elevates labels over substance and arbitrarily

overlooks important record evidence.

      C.     The Commission’s Viewpoint-Diversity Justification Is Arbitrary.

      The Commission asserts the Local Television Rule “help[s] to ensure

viewpoint diversity in a local market.” App.__ (Order ¶ 81). That rationale is

arbitrary for at least three reasons.

      First, it ignores over a dozen studies in the record debunking any link between

station ownership and viewpoint diversity. Compare App.__-__ (NAB 2021 Reply

Comments 24-25 n.66), with App.__ (Order ¶ 81).               Overlooking studies that



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contradict the FCC’s position renders its action arbitrary. See, e.g., Genuine Parts

Co. v. EPA, 890 F.3d 304, 313 (D.C. Cir. 2018).

       Second, the Commission inexplicably reverses its 2017 conclusion that there

are many “independent digital-only news outlets with no print or broadcast

affiliation, many with a local or hyperlocal focus,” with this “trend continu[ing] to

gain   momentum.”        2014    Quadrennial      Regulatory   Review,   Order       on

Reconsideration, 32 FCC Rcd. 9802, ¶ 19 (2017). The Order’s unsupported claim

that online outlets are not independent and simply “repurpos[e] local television

content,” App.__ (Order ¶ 81), fails to “display awareness that [the agency] is

changing position,” let alone offer “good reasons” for its contrary view, FCC v. Fox

Television Stations, Inc., 556 U.S. 502, 515 (2009).

       Third, even if these sources merely repurposed local-television content, the

Commission overlooks that these platforms still offer viewpoint diversity—for

example, by coupling repurposed news with user commentary. See App.__-__

(NAB 2021 Comments 36-37 n.100). By improperly conflating newsgathering with

viewpoint, the Order arbitrarily ignores the viewpoint-diversity contributions of

online media.




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II.      THE COMMISSION’S NEW TELEVISION REGULATIONS ARE
         UNLAWFUL.

         While the Commission’s decision to retain the Local Television Rule

disregards Congress’s deregulatory direction, its decision to adopt new regulations

turns the statute on its head.

         The Order tightens the Rule primarily by revising Note 11 to 47 C.F.R.

§ 73.3555 with so-called “anti-circumvention measures.” Adopted in 2016, Note 11

prohibited affiliation swaps resulting in ownership of two top-four full-power

television stations in the same market, which the agency deemed the “functional

equivalent” of a direct acquisition. See 2014 Quadrennial Regulatory Review,

Second Report and Order, 31 FCC Rcd. 9864, ¶¶ 45-52 (2016). But the Commission

expressly “decline[d] to regulate dual affiliations via multicast,” given the public-

interest benefits of multicasting’s “ability to bring more local network affiliates to

smaller markets” and because “a multicast stream does not typically produce the cost

savings and additional revenue streams” of a full-power television station. Id. ¶¶ 68-

72. The Order completely reverses course, sweeping both multicasting and LPTV

stations within the ambit of Note 11, App.__-__ (Order ¶ 97), even though neither

are the equivalent of a full-power station. This expansion of Note 11 is a sharp break

from FCC precedent, contravenes Section 202(h), and is neither reasonable nor

reasonably explained.




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      The Order also revises the methodology used to evaluate audience share under

the Top Four Prohibition to consider viewership from multicast streams “to the

extent that such streams are ranked.” App.__, __-__ (Order ¶¶ 85, 94-96); see 47

C.F.R. § 73.3555(b)(1). This change is also unlawful.

      A.     The Rule Expansions Violate Section 202(h).

      On its face, Section 202(h) permits the FCC to “modify” a regulation only

after it has “determine[d]” a rule “to be no longer in the public interest.” 1996 Act,

§ 202(h) (emphasis added); see supra Section I.A. However, the Order, adopted

“under Section 202(h), App.__ (Order ¶ 11), finds that the Local Television Rule

remains necessary to promote its public-interest goals. See, e.g., App.__ (Order

¶¶ 71-72). Having reached that determination, the Commission lacked power to

tighten the Rule in this proceeding. The anti-circumvention measures and audience

share methodology changes should be vacated for this reason alone.

      B.     The “Anti-Circumvention” Measures Are Arbitrary.

      The Order’s rationale for adopting “anti-circumvention” changes to Note 11

is incoherent, overlooks record evidence, and underestimates competition.

             1.    The Commission’s Purported Justification Is Incoherent.

      The Order retains the Local Television Rule because the Commission finds

that broadcasters have been able to maintain “fairly steady” revenues and viewers

despite robust competition from other media sources. See App.__-__, __-__ (Order



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¶¶ 87, 79). As explained above, this claim to “steady revenues” and viewers is

patently incorrect and thus arbitrary. See supra Section I.B.1. But the claim is also

arbitrary because it flatly contradicts the Commission’s rationale for adopting the

changes to Note 11—i.e., to prevent broadcasters from using multicast streams and

LPTV stations to retain viewers and revenues. See App.__-__ (Order ¶ 100); see

also App.__-__ (Order ¶ 86) (contending that purported “loopholes” have allowed

stations to increase audience shares).

      The contradiction is obvious. By eliminating some tools broadcasters have

used to retain revenues and viewers, the Commission directly undermines the

allegedly steady revenues and viewership that supposedly justified retaining the

Local Television Rule in the first place. This overlooks “an important aspect of the

problem.” State Farm, 463 U.S. at 43.

      The Commission’s conflicting rationales also render the Order “internally

inconsistent.” ANR Storage Co. v. FERC, 904 F.3d 1020, 1028 (D.C. Cir. 2018).

That is, the retention rationale (incorrectly) assumes revenues and viewership are

steady under the Local Television Rule. But the modification rationale assumes that

broadcasters have been “achiev[ing] results that are inconsistent with” the Rule and

attempts to shut them off. App.__ (Order ¶ 99). This contradiction is “arbitrary and

capricious.” ANR Storage, 904 F.3d at 1028.




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             2.     The Commission Ignores Crucial Record Evidence.

      The Commission also ignores crucial information in the record that

contradicted the agency’s position.

      First, the Commission is wrong that broadcasting “top-four rated

programming” on “an LPTV station or multicast stream” is “the equivalent of a

second top-four rated station in terms of audience and revenue share.” App.__

(Order ¶ 100). Commenters explained that LPTV stations and multicast streams

typically “generate only a tiny fraction of the revenue a full-power station earns” and

“do not qualify for mandatory carriage on cable or [Direct Broadcast Satellite]

systems.” App.__-__, __ (NAB 2021 Comments 100-01, 104). Further, unlike full-

power stations, LPTV stations “must accept interference from full-service stations”

and “have limited coverage areas.” App.__ (NAB 2021 Comments 104 & n.366).

Thus, LPTV stations and multicast streams are not equivalent to full-power stations.

The Commission finds otherwise only by arbitrarily ignoring record evidence and

“comments” that “challenge a fundamental premise” of its “decision.” Carlson v.

Postal Regul. Comm’n, 938 F.3d 337, 344-48 (D.C. Cir. 2019).

      Second, the Commission errs in assessing how broadcasters generally use

LPTV stations and multicast streams. Record evidence shows that broadcasters use

these media to offer programming in smaller markets that “cannot support four full-

power television stations” or otherwise lack stations affiliated with one or more top-



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four networks. App.__-__ (Television Affiliates Dec. 21, 2023 Ex Parte 1-2); see

App.__-__ (NAB 2021 Comments 101-05 & n.350).

      The Order rejects this evidence in a conclusory and unsupported fashion. The

Commission discredits broadcasters’ evidence, instead relying heavily on data from

broadcast competitors with a vested interest in weakening the broadcast-television

industry: the American Television Alliance and NCTA – The Internet & Television

Association. App.__-__ (Order ¶¶ 101-02). But Petitioners submitted comments

demonstrating methodological errors in these commenters’ data. See, e.g., App.__-

__ (NAB 2021 Reply Comments 53-57); App.__-__ (NAB Dec. 19, 2023 Ex Parte

1-8). The Commission observes these “deficiencies,” but then inexplicably credits

the deficient data anyway. See App.__ (Order ¶ 102 n.332). Such “[c]onclusory”

analysis about a “matter[ ] involving a central factual dispute where there is

considerable evidence in conflict do[es] not suffice.” AT&T Wireless Servs., Inc. v.

FCC, 270 F.3d 959, 968 (D.C. Cir. 2001).

      Third, the Commission ignores the significant public-interest benefits of

LPTV stations and multicasting.      The record shows that LPTV stations and

multicasting increase programming in underserved markets. App.__-__ (Television

Affiliates Dec. 21, 2023 Ex Parte 1-2). These media thus provide underserved

viewers with “access to the programming” of additional “Big 4 Networks.” Ibid.

These arrangements also generate “economic and operational efficiencies for


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broadcasters” that “allow[ ]” them “to increase the amount of local news

programming they provide, expand the reach of their programming, and air news,

critical information and other programming in foreign languages, among other

things.” Ibid. Both the Commission and Congress have thus recognized that

multicasting and LPTV stations provide “significant benefit[s]” and encouraged

their use. App.__, __-__ (NAB 2021 Comments 101 & n.349, 104-05 & n.369).

      The Commission now says LPTV stations and multicasting “do[] not always”

produce the benefits it previously recognized. App.__ (Order ¶ 101). Always or

not, the Commission had to explain why it chose to deprive broadcasters and the

public of benefits that often result from using these media. Its failure to consider

this important aspect of the problem is arbitrary. State Farm, 463 U.S. at 43; see

also Off. of Commc’n of United Church of Christ v. FCC, 707 F.2d 1413, 1441-42

(D.C. Cir. 1983) (holding arbitrary decision that “failed to give adequate

consideration to the vital” policy it sought to eliminate).

      Fourth, the Commission disregards broadcasters’ “reliance interests” and

practical implementation problems with its amendments to Note 11. Regents, 591

U.S. at 30. For example, “if the licensee of a Big Four-affiliated full power television

station and a Big Four-affiliated LPTV station [or multicast stream] were planning

to assign or transfer this same-market combination to a new licensee, it would have

to either divest one of the stations as part of the transaction or terminate the existing


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affiliation of one of the stations and secure other programming.” App.__ (NAB 2021

Reply Comments 56). This would subject the seller to “costly renegotiations with

programmers to exit those agreements,” which could ultimately deny “the affected

market” the “full complement of major network affiliates.” App.__ (NAB 2021

Reply Comments 57). The Commission arbitrarily ignores these adverse impacts.

      Finally, in the face of these deficiencies, the FCC says broadcasters may “seek

case-by-case consideration” of circumstances that would be inconsistent with

revised Note 11. App.__ (Order ¶ 108 & n.348); see App.__ (Order ¶ 104 n.335).

But an agency cannot save an irrational rule “by tacking on a waiver procedure.”

ALLTEL Corp. v. FCC, 838 F.2d 551, 561 (D.C. Cir. 1988). Case-by-case review

does not cure the Order’s deficiencies.

             3.    The Commission Fails To Adequately Assess Competition.

      Even if Section 202(h) permits the Commission to “modify” a rule by

imposing additional regulation (which it does not), the statute could conceivably

allow such a result only under a competition-focused analysis. 1996 Act, § 202(h);

accord App.__ (Order ¶ 22) (conceding “competition” is “a key consideration”).

      Yet, in purporting to assess competition in its Note 11 modifications, the

Order overlooks an important aspect of the problem. The Commission claims (i) its

Top-Four Prohibition is good for competition, and thus (ii) closing “loopholes” in

the Prohibition is good for competition. App.__ (Order ¶ 98). This analysis suffers



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from a glaring flaw: while the FCC “characterize[s] this action as closing a

loophole,” the conduct it covers did not previously “violate any ownership

restriction.” App.__ (Carr Dissent 93). Thus, the Commission cannot rest on the

proposition that the status quo is justified by competition; it must show that its

modification of that status quo is justified by competition. Its failure to do so is

arbitrary.

      C.     The New Audience Share Methodology Is Arbitrary.

      The Order alters the audience-share metric used to determine a station’s in-

market ranking to “incorporate the ratings of a station’s multicast streams,” but only

“to the extent such streams have measurable ratings.” App.__ (Order ¶ 85).

      This new methodology makes the Order “internally inconsistent.” ANR

Storage, 904 F.3d at 1028. For purposes of calculating a station’s audience share,

the Order treats measurable multicast streams as part of the same station. 47 C.F.R.

§ 73.3555(b)(1). But under its “anti-circumvention” language, multicast streams are

treated as a separate station. App.__ (Order ¶ 103). The Commission does not

acknowledge—let alone explain—the inconsistent treatment of multicasts in its Rule

modifications.

      The new methodology is also arbitrary because the Commission fails to

acknowledge that it will systematically overestimate the audience share of stations

hosting popular multicast streams. Audience share is an estimate of the size of a



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television audience relative to all television viewers, expressed as a percentage. By

attributing the viewers of popular multicast streams (i.e., those with measurable

ratings) to a station’s audience while excluding the viewers of less popular multicast

streams (i.e., those that lack measurable ratings) from the overall number of

television viewers, the Commission will artificially inflate the audience share of

stations hosting popular multicast streams. The Commission is using one method to

calculate the numerator and a different method to calculate the denominator. Its

failure to consider the impact of this data limitation is arbitrary, particularly when

the goal is “to reflect a station’s total audience share more accurately.” App.__

(Order ¶ 85) (emphasis added).

                                  CONCLUSION

      Because the Commission violated Section 202(h) and “at least one of the

rationales [for the Order] is deficient” under the APA, this Court should “vacate the

order.” Nat’l Fuel Gas Supply, 468 F.3d at 839.




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                      CERTIFICATE OF COMPLIANCE

      This brief complies with the type-volume limitations imposed by this Court’s

Order of May 3, 2024 because this brief contains 4,987 words, and the additional

Petitioner-side Intervenor brief will contain 5,000 words or less.

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Rules of Appellate Procedure 32(a)(5) and 32(a)(6). It has been prepared in a

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July 15, 2024                                  /s/ Eve Klindera Reed
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                         CERTIFICATE OF SERVICE

      I certify that on July 15, 2024, I electronically filed the foregoing brief with

the Clerk of the Court by using the CM/ECF system, and that the CM/ECF system

will accomplish service on all parties represented by counsel who are registered

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